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                      EXHIBIT 8E
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Addendum Regarding Interviews Of Claimants Alleging Individual Economic Loss
And Other Individuals Providing Sworn Statements In Support Of Such A Claim

        The Parties agree to the following proposed Addendum, which applies where it is referenced in
the Framework for Individual Economic Loss Claims, subject to the understanding that it is contingent on
the concurrence of the selected Claims Administrator1 that the terms, conditions and deadlines set forth
in the addendum are realistic and achievable.

If, after reviewing the Claim Form, and other information submitted by or on behalf of the claimant
(collectively, the “Claim Submission”), the Claims Administrator believes there is a reasonable basis to
question the credibility and reliability of information in the Claim Submission, the Claims Administrator
may interview the claimant and/or any other individual providing a sworn statement in support of the
claimant’s claim, in order to resolve any such question regarding reliability. Such interviews may, at the
Claims Administrator’s option, be conducted in-person, by telephone or electronically (e.g., via Skype).

      1. Deadline To Conduct Interviews. The Claims Administrator shall use their best efforts to
         conduct any interview of a claimant, and/or any other individual providing a sworn statement in
         support of the claimant’s claim, within 45 (forty-five) days of the Claims Administrator’s
         acknowledgment of a complete Claim Submission, provided that such 45-day limit cannot start
         to run until after the announced opening of the Class Action Settlement Facility.2 At the
         Claimant’s option, the interview period can be extended further; any such extension request by
         the claimant and agreed-upon extension shall be documented by the Claims Administrator. If
         at any time the Claims Facility receives and/or has pending a number of claims within Category
         IV of the Individual Compensation Framework such that the above deadline cannot be met
         despite the Claims Administrator’s good faith compliance with all of the other provisions of this
         Addendum , the Claims Administrator will promptly so advise Lead Class Counsel and BP
         Counsel so that the parties can seek resolution of the issue through the Claims Administration
         Panel.

      2. Timing And Location Of Interviews. The Claims Administrator shall use their best efforts to
         arrange to conduct interviews at a time and location convenient to the claimant and/or other
         interviewee. The claimant may provide the Claims Administrator with reasonable advance
         notice of convenient times and locations and the Claims Administrator shall seek in good faith
         to honor such scheduling and location requests.

      3. Interviewing Staff. The Claims Administrator shall use their best efforts to recruit and train a
         claims staff that is of diverse races, ethnicities, and genders matching the communities served
         by the Claims Facility and its offices, and who have the cultural background, training and
         language skills required to interview claimants or other individuals in their native languages,
         including but not limited to Vietnamese, Khmer, and Native American languages and cultures.
         To the extent claimants, or other individuals providing a sworn statement in support of claims,


1
 As explained in Economic and Property Damages Settlement Agreement §§ 3.3.3 and 3.3.6, the Claims
Administrator is responsible for overseeing the Claims Administration Vendors who process claims.
2
    The Claims Administrator will determine the opening date of the Claims Facility.




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    and they or their representatives request that any interview be conducted by an individual of
    the same ethnic background, the Claims Administrator shall endeavor in good faith to comply
    with that request. If and to the extent the Claims Administrator concludes compliance with
    this provision are causing significant delay in claims processing, they shall bring the issue to the
    attention of Lead Class Counsel and BP Counsel so that the parties can seek resolution of the
    issue through the Claims Administration Panel.

4. Limitations on interviews. To the extent provisions of the Individual Compensation Framework
   impose limitations on the number of interviews that may be conducted of claimants in certain
   categories, or individuals supporting their claims, for purposes of resolving questions of
   reliability, the Claims Administrator shall comply with such limitations.

5. The Claims Administrator shall maintain records documenting their compliance with the
   requirements of this Addendum.

6. Nothing in this paragraph or in the Individual Compensation Framework is intended, nor shall it
   be construed, to limit in any way the right and obligation of the Claims Administrator and/or
   Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf of
   any claimant, including but not limited to conducting any interviews and obtaining any
   documents the Claims Administrator deems necessary.




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